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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
 ISHYNIQUE MCCOY,                                       :
                                                        :
                                                                  CIVIL ACTION
                           Plaintiff,                   :
                                                        :
                                                                  NO. 2:18-CV-04079
                  vs.                                   :
                                                        :
 T-MOBILE STORE, ET AL.,                                :
                                                        :
                           Defendants.                  :

  T-MOBILE USA, INC.’S REPLY TO CROSS-CLAIM OF DEFENDANT APPLE INC.

         Defendant, T-Mobile USA, Inc. (“T-Mobile”), by and through its counsel, Kleinbard

LLC, hereby submits the following reply to the Cross-Claim of Defendant Apple Inc.

         1.      T-Mobile incorporates herein by reference as though fully set forth at length, its

Answer with New Matter and Cross-Claim to the Complaint of Plaintiff Ishynique McCoy.

         2.      Denied.

         3.      The averments of this paragraph constitute conclusions of law to which no

responsive pleading is required. To the extent that a response is deemed required, T-Mobile

denies the allegations in this paragraph.

         WHEREFORE, T-Mobile demands judgment in its favor and against Plaintiff and

Defendant Apple Inc., as well as an award of costs, expenses and fees, and any other such relief

this Court deems just and appropriate.




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                                        /s/ Lorena E. Ahumada
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                                        Lorena E. Ahumada, Esquire
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Dated: February 14, 2019




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                                 CERTIFICATE OF SERVICE


         I, Lorena E. Ahumada, counsel for defendant, T-Mobile USA, Inc., hereby certify that on

this 14th day of February 2019, a true and correct copy of the foregoing Reply to the Cross-

Claim has been filed electronically and is available for viewing and downloading from the ECF

system. I further certify that I caused a true and correct copy of the same to be served upon all

counsel of record in this matter via the court’s electronic filing system.




                                               /s/ Lorena E. Ahumada
                                               Lorena E. Ahumada, Esq.




{01714313;v1 }
